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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

EDREWEENE RAYMOND, ADHYL Docket No.

POLANCO, PEDRO SERRANO, SANDY

GONZALEZ, RITCHIE BAEZ, JULIO

DIAZ, FELICIA WHITELY, ROMAN

GORIS, DERICK WALLER, KAREEM

ABDULLAH, OLAYOKUN OLAGOKE,

and WIDMARC PIERRE individually, and

on behalf of a class of ali others similarly CLASS ACTION

situated, COMPLAINT AND
JURY DEMAND

Plaintiffs,

-against-

THE CITY OF NEW YORK, NEW YORK
CITY POLICE DEPARTMENT, THE
MAYOR OF THE CITY OF NEW YORK
BILL de BLASIO, in his individual and

and official capacity, POLICE
COMMISSIONER WILLIAM J. BRATTON,
In his individual and official capacity, NYPD
CHIEF OF DEPARTMENT JAMES P.
O’NEILL, in his individual and official
capacity, and NYPD COMMANDING OFFICER
OF PATROL SERVICES, BUREAU CHIEF
CARLOS M. GOMEZ, in his individual and
official capacity,

Defendants.

 

Plaintiffs, Edreweene Raymond, Adhyl Polanco, Pedro Serrano, Sandy Gonzalez,
Ritchie Baez, Julio Diaz, Felicia Whitely, Roman Goris, Derick Waller, Kareem
Abdullah, Olayokun Olagoke, and Widmare Pierre, for themselves individually and on
behalf of ali others similarly situated, to wit, latino and black police officers within the
New York City Police Department, (hereinafter, “Plaintiffs”) by and through their

attorneys, Nwokoro & Scola, Esquires, allege the following upon information and belief,
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against the City of New York, New York City Police Department, the New York City
Police Commissioner William J. Bratton, NYPD Chief of Department James P. O'Neill,

and NYPD Bureau Chief Carlos M. Gomez.

PRELIMINARY STATEMENT
1. This is an action for declaratory and injunctive relief and for compensatory
damages to redress the deprivation of rights, and prevent future violations of the same
rights which are secured to the plaintiffs by the 1* Amendment, (depriving plaintiff of the
right of free expression by punishing and retaliating against the plaintiff's for
complaining about and speaking out against the quota) the 5", and 14" Amendments
(depriving plaintiff's of benefits without due process), and the 14" Amendment
(depriving plaintiffs of the equal protection of the laws by discriminating against the
plaintiff's on the basis of race and national origin in the administration of disciplinary
measures for failure to meet the quota) and for violations of the Civil Rights Act of 1866,
42 U.S.C. § 1981, 42 U.S.C. §1983, 42 U.S.C. §1985, the New York State Human Righis
Law, New York Executive Law §296; New York City Local Law 59 of 1986, as
amended by Local Rule 39 of 1991, §§8-101, et seq,; and multiple and systemic
violations of New York State Labor Law Section 215-a.
2. Plaintiffs, Latino and African-American minority Police Officers employed by the
New York City Police Department, bring this action against the New York City Police
Department for violations of the 1“, 5" and 14" amendments to the United States
Constitution, and for multiple and systemic violations of New York State Labor law

Section 215-a, and consequent negative employment actions illegally taken against the
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plaintiffs including negative evaluations, lost compensation, lost overtime, lost vacations
days earned, punitive postings, punitive transfers, denial of upgrades and promotions,
denial of overtime and denial of accrued time earned, and for discrimination in their
employment on the basis of race and national origin, as a result of the imposition of
illegal quotas and illegal penalties, which imposition has a disparate effect on the
African-American and Latino minority police officers, and which discrimination is in
violation of 42 U.S.C. §1981, 42 U.S.C. § 1985, the New York State Human Rights Law,
New York Executive Law §296 and New York City Local Law 59 of 1986 as amended
by Local Rule 39 of 1991, §§ 8-101, et seq.

3. Over the past decade and continuing to the present, the NYPD has pursued an un-
official policy of directing, instructing, compelling and mandating its employees to
perform a mandatory number of arrests, issue a mandatory number of summons or write a
mandatory number of tickets, (quotas) over a defined period of time, as a performance
standard. Failure to meet the quota is punished while employees who meet the quota are
rewarded. In the same period of time, the NYPD has stated officially that it does not
maintain such quotas.

4. Promotion or job security in the New York City Police Department depends on
the number of arrests made or tickets issued. Although the NYPD has continuously
denied the existence of quotas and asserts that it relies only on a set of ‘productivity
goals’, or ‘performance goals’, those phrases are mere euphemisms for a quota system.

5. Despite its official stance against quotas, there is conclusive proof that the NYPD
has been using and is still using the quota system. Evidence adduced in the case of Floyd,

et al v. The City of New York (2013 WL 4046209), a federal class action lawsuit filed
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against the NYPD and the City of New York that challenged the NYPD’s practices of
racial profiling and unconstitutional stop and frisks, showed that ‘performance goals’
approximated to the appropriate enforcement activity numbers and an officers failure to
engage in sufficient proactive enforcement activities resulted in negative performance
evaluation and reassignment to a different command. In its ruling, the court stated “it is
difficult to see any difference between a perfomance goal and quota” and further stated,
“amposing numerical performance goals for enforcement activities, without providing
effective safeguards to ensure the activities are legally justified, could result in an officer
taking enforcement action for the purpose of meeting a ‘performance goal’ rather than
because a violation of the law has occurred”.

6. During testimony in the Floyd case, Police Officer Adhyl Polanco, a named
plaintiff in this action, who at the time was an eight-year veteran of the NYPD who
worked in the Bronx, testified that he was told at a daily roll call that he had to log at
least five stop-and-frisks, make one arrest and write 20 tickets each month. During the
same trial, NYPD Officer Pedro Serrano (who is also a named plaintiff in this matter)
testified that at roll call, supervisors would urge the gathered officers to make more
arrests, make stop and frisk stops and write more summonses. He also testified that when
he refused to make the quotas, his superiors punished him by giving him forced overtime
on his days off, low performance evaluations and canceling his days off. Tape recordings
made by Officer Serrano were introduced into evidence. In those recordings, NYPD
Supervisors can be heard stating that they want more stops-and-frisks and arrests and
warning the rank and file that if they didn’t want to be on a ‘foot post’ (an undesirable

transfer) they needed to make more ‘collars’ (arrests). At the same hearing, then NYPD
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Deputy Chief Michael Marino, testified that when he was overseeing the 75" precint in
Brooklyn, he had to set a goal of 10 summonses and one arrest per month because
officers were performing poorly.

7. Plaintiff herein, Officer Polanco has asserted that his command, the 41" Precint,
regularly requires officers to make at least “one arrest and twenty summonses” per
month. Polanco’s assertions were confirmed by an audiotape obtained by the media. The
contents of the tape reveal that these quotas are enforced through coercion and threats of
job loss; to wit, a patrol supervisor at the 41“ Precint is overheard saying: “If you think
one and twenty is breaking your balls, guess what you’ll be doing. You are going to be
doing a lot more, a lot more than what they are saying”. The tape also reveals that another
patrol supervisor chimed in and told the officers: “next week 25 and one, 35 and one, and
until you decide to quit this job and go to work at Pizza Hut, this is what you are going to
be doing till then”.

8. The New York Daily News obtained and published two internal memos which
were posted inside the roil-call room at NYPD’s 77" Precint. The memos specifically
instructed officers about the “number of tickets to give drivers for cell phone, seat belt,
double-parking, bus stop, tinted windows and truck route violations” that they were
expecied to issue. The memos remained posted for several weeks inside the roll-call room
until the media began inquiring. (James Fanelli, Cops at Brooklyn’s crime-ridden 77th
Precinct told to meet quotas for moving violations, memos say, N.Y. Daily News, Nov. 8,
2010).

9. Responding to a query from a civilian who was cited on consecutive days in

November of 2009 for allegedly occupying more than one seat on the New York City
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subway, the officer responded: "Recently we've been told to write tickets instead of give
warnings for this type of thing." The officer explained that they needed to meet quotas.
(Tom Namako and Kirsten Fleming, Nightime Riders in Big Sit Fit, The New York Post.
December 26, 2009).

10. In December of 2010 and in response to the pressure from their supervisors to
issue baseless summonses pursuant to the policy and practice of quotas, police officers at
the 79th Precinct considered organizing a so-called "daylong summons boycott.” As one
officer at the precinct explained, "Nobody feels this is right, asking us to write
summonses just to meet a quota." (Rocco Parascandola, /rate cops at the 79th Precinct
in Bedford-Stuyvesant threaten boycott over quotas, N.Y. Daily News, Dec. 12, 2010). In
response to the planned summons-boycoit at the 79th Precinct on December 13, 2010,
Deputy Chief Michael Marino marched into the precinct at roll call with a deputy
inspector and read officers the riot act. "Just try it," a police source quoted Marino as
saying. "I'll come down here and make sure you write them." Marino also vowed to
transfer people, like he did when he was the commanding officer of the 75th Precinct in
East New York. (Rocco Parascandola, Deputy Chief Michael Marino threatens cops at
the 79" Precinct who want to go on summons strike, N.Y. Daily News December 15,
2010).

11. In the case of Carolyn Bryant v The City of New York, (Index Number 2201 1/07-
Kings County Supreme Court), during the trial of an action for false arrest, malicious
prosecution and police brutality brought against the NYPD, and after hearing testimony
from Captain Alex Perez of the 81“ Precint of the NYPD to the effect that arrest numbers

are a factor in the assessment of police officer performance, a jury in Kings County
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sitting in February 2011, found as a matter of fact that the NYPD has an un-official quota
system. The jury verdict was reported in the New York Daily News of February 19, 2011.
(Oren Yaniv, Court rules that cops do use quotas; woman injured in 2006 arrest settles
for $75,000, N.Y. Daily News. February 19, 2011).

12. In February 2012, NYPD Officer Craig Matthews, filed a lawsuit against the
NYPD alleging the use of a detailed quota system at the 42" Precint, in the Bronx, which
includes regular color-coded computer reports used to track compliance with the quotas.
Officers who fail to meet the quotas are highlighted in red ink on the reports and
subjected to a wide range of retaliatory actions. Officer Matthews alleges that he
repeatedly reported the use of the quota system to the Precint’s commanding officers and
instead of addressing that problem, they retaliated against him by giving him punitive
assignments, denying him overtime, denying him leave, giving him poor evaluations and
constantly harassing and threatening him.

13. The New York City Office of Collective Bargaining concluded that officers in
Brooklyn's 75th Precinct were required to issue four parking tickets, three moving
violation citations; three "quality-of-life" summonses, make one arrest and two stop-and-
frisks each month. Arbitrator Bonnie Siber Weinstock ruled that the NYPD maintained
an illegal "summons quota for traffic violations in the precinct and penalized officers for
failing to meet the stated number of traffic citations.” She ordered the city to cease and
desist from the practice. (New York City Ticket Quota Confirmed, Denied, The
Newspaper.Com, January 21, 2006).

14. Kieran Creighton, commander of the NYPD Housing Police Service Area 8 in the

northern Bronx, was investigated for ordering officers to make a certain number of arrests
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each month. According to The New York Daily News. The incident allegedly occurred in
the spring when Creighton ordered at least eight members of an undercover anti-crime
team to a meeting in Pelham Bay Park to berate them about an alleged lack of arrests,
sources said. "You can't make the nine collars a month, then we'll all have to go our
separate ways," Creighion told the officers, according to an internal complaint obtained
by The News. Anything less than nine arrests would be a "personal slap in the face,"
Creighton allegedly said. Creighton then told the cops to finagle the times of arrests so
any overtime was paid for by a federally funded anti-drug program, the complaint states.
Unbeknownst to Creighton, one officer had his NYPD radio switched on so the captain's
10 to 12 minute speech was broadcast to Bronx precincts in Morrisania and Schuylerville
and taped by the 911 dispatcher. (Allison Gendar; NYPD captain allegedly caught in
arrest quota fixing, The New York Daily News, November 14, 2007).

15. When defendant William Bratton took office as Police Commissioner in January,
2014, he promised an end to quotas and the numbers-driven policing culture championed
by his predecessor, Raymond Kelly, stating “I want to focus on the quality of police
actions, with less emphasis on our numbers and more emphasis on our actual impact”.
Mr. Bratton made the statement in an official video released by the NYPD and published
on the website of the Patrolmen’s Benevolent Association. (Daily News, January 28,
2014: Mark Morales, ‘NYPD Commissioner bags bust quotas in favor of actual impact’).
However, the reality is that one year later, quotas remain alive and well and the NYPD is
aggressively pursuing a numbers driven agenda with regard to arrests, tickets and

summonses.
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16. Recently, the New York Post newspaper obtained and reported a text sent by an
NYPD Supervisor, Lieutenant Stevelle Brown of the 105" Precint in Queens, to an
officer under her command. The officer had asked for permission to take the night off and
Lieutenant Brown responded by asking for details on the officer’s ‘activity for last
month’, with the officer answering that it was just ‘one moving violation and three
parking summonses’ Brown responded, “I believe, I will be seeing you at work then”.
Denying an officer time off for failure to make a certain number of arrests, tickets or
summonses is indicative of the fact that the quota system is currently in use. (Shawn
Cohen and Bruce Golding: Cop denied time off because of quotas, New York Post,
February 20, 2015.)

17. On November 16, 2013, the Daily News reported that four traffic enforcement
agents, James Felder, Steven Douglas, Tracy Ellis and Joel Fernandez, along with and
their union, Local 983, brought an action against the City and the NYPD alleging that
they were being punished by denial of overtime, denial of shifts, denial of meal breaks,
being given poor evaluations and threatened with termination, if they failed to tow-away
three or four vehicles per shift. The plaintiffs alleged that they were being pressured by
supervisors to tow vehicles they wouldn’t normally tow in order to meet the quota. (Pete
Donohue, Greg B. Smith and Corrine Lesich; “Traffic-enforcement agents sue NYPD,
City over towing quotas” Daily News, November 16, 2013).

18. Under the leadership of the named defendants, the named plaintiffs and all un-
named members of the prospective class have been compelled, instructed, directed and or
mandated to issue a certain number of summons, write a certain number of tickets, tow a

certain number of vehicles, or write a certain number of violations. Similarly, the named
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plaintiffs and all un-named members of the prospective class have been punished by the
defendants, by being harassed, threatened with termination and other negative
consequences, received negative evaluations, lost compensation, lost overtime, lost
vacation days earned, punitive postings, punitive transfers, denial of upgrades and
promotions, denial of overtime, and denial of accrued time earned; for their failure to
meet the mandated numbers of summonses, tickets, tow-aways, and/or violations.

19. The imposition of illegal quotas has led to a pattern and practice of discrimination
against officers of Hispanic and African-American heritage on the basis of color, race and
national origin by, inter alia; maintaining and allowing a hostile work environment;
disparate treatment through an unfair and unreasonable perfomance evaluation system;
unfounded, unwarranted and improperly conducted disciplinary investigations, including
integrity tests and interrogations; the imposition of unfounded, unwarranted and overly
disciplinary penalties, including but not limited to loss of vacation, suspension,
termination, loss of pension, assignments to undesirable and/or particularly dangerous
tasks. The disciplinary process of the NYPD, although neutral on its face, has had a
disparate impact on minority officers.

20. Upon information and belief, the defendants have enacted and enforced un-
written “productivity standards” or de facto quotas of a certain number of arrests and a
certain number of summonses and or violations per month for each NYPD officer. The
officers who fail to meet the productivity standards face adverse employment
consequences. Upon information and belief, in their efforts to satisfy the productivity

standards (meet the quota), NYPD officers have engaged in widespread, suspicion less
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stops and frisks, improper and baseless arrests, and improper and baseless summonses
and/or violations.

21. Upon information and belief, the improper stops, frisks, arrests, summonses and
violations generated by the pressure to comply with illegal quotas, have a negative impact
on the community, and a disparate and disproportionately negative impact on minority
African-American and Latino community. Upon information and belief, the NYPD
targets black and Jatino communities and black and latino individuals within the five
boros of New York in order to obtain the numbers necessary to meet the illegal quotas.
22. The named plaintiffs herein and the prospective class members are African-
American and Latino officers who are under supervisory pressure to meet illegal quota
standards by performing racially discriminatory and unwarranted enforcement actions
against their own minority community. Plaintiff's failure to meet the illegal quota results
in adverse employment consequences including but not limited to negative evaluations,
termination or threat of termination, lost compensation, lost overtime, denial of
promotions and upgrades, denial of overtime, loss of vacation days earned, loss of
accrued time earned, punitive postings and punitive transfers, suspension, investigations,
charges, suspensions, formal and informal discipline, assignments to undesirable and/or
particularly dangerous tasks, punitive postings and punitive transfers, all leading and
contributing to a hostile working environment and racially disparate treatment of the
minority police officers.

23. Plaintiffs herein and the prospective class members are disproportionately
affected by the imposition of illegal quotas and the punitive consequences of the failure

to meet the quotas, as opposed to white police officers, because plaintiffs being
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minorities working in neighborhoods dominated by minority residents, are unwilling to
perform racially discriminatory and unwarranted enforcement actions against the
minority community. The efforts of the defendants to compel plaintiffs to comply with
the illegal quota system has led to a racially unfair and unreasonable performance
evaluation system and unfair and unwarranted disciplinary actions and penalties to which
the plaintiffs are subjected and to which white police officers are not subjected.

24. The named plaintiffs and prospective class members who have complained about
the illegal quotas and its racially discriminatory application to the minority community
face negative employment action from the defendants in the form of unwarranted and
improperly conducted charges and disciplinary investigations, and unwarranted
disciplinary penalties leading to a hostile working environment and racially disparate
treatment of the minority police officers on the basis of their race, color and national
origin.

25. The performance evaluation system to which the plaintiffs are subjected by the
defendants is unfair in that it is not evenly applied to all precints depending on the
location of the precint. For instance, under the numbers determined performance
evaluation system, a police officer from a precint located in a predominantly white
residential area will receive a positive evaluation while a police officer from a precint
located in a predominantly minority area will receive a negative evaluation for the same
exact number of enforcement actions.

26. The performance evaluation system to which the plaintiffs are subjected by the

defendants although neutral on its face, is un-evenly applied in that minority officers are
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more likely to be charged, investigated and receive more punishment, than their white

counterparts for the same alleged offenses.

JURISDICTION
27. Jurisdiction is conferred upon the Court pursuant to 28 U.S.C. §§ 1331 and 13343
(3) & (4) as this action seeks redress for the violation of plaintiffs civil rights. Plaintiffs
further invoke the Court’s supplemental jurisdiction, pursuant to 28 U.S.C. § 1367(a)
over any and all state law claims that are so related to the claims within the original
jurisdiction of the Court that they form part of the same case or controversy. Plaintiff's
claims for declaratory and injunctive relief are authorized by 28 U.S.C. §§ 2201 and 2202

and Rule 57 of the Federal Rules of Civil Procedure.

VENUE
28. Venue is proper in the United District Court for the Southern District of New
York pursuant to 28 U.S.C. §§ 1391 (b) and (c).

JURY DEMAND
29. Plaintiffs demand trial by jury in this action and on each and every one of their
claims.

PARTIES
30. Plaintiff Edreweene Raymond is an African American male Police Officer
employed by the NYPD who has been under supervisory pressure to comply with the
illegal quotas; has suffered negative employment consequences as a result of the failure

to meet the illegal quotas; has been racially discriminated against in the imposition of
 

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command disciplines for failing to meet the illegal quota; Has expressed his opposition to
the illegal quotas and has been retaliated against in violation of his rights to free speech;
and has been penalized for reporting, opposing and complaining about the illegal quotas
and its racially discriminatory application against the minority community.

31. Plaintiff Adhyl Polanco is a Hispanic male and police officer employed by the
NYPD who has been under supervisory pressure to comply with the illegal quotas; has
been racially discriminated against in the imposition of command disciplines for failing
to meet the illegal quota; has suffered negative employment consequences as a result of
his failure to meet the illegal quotas; has expressed his opposition to the illegal quotas
and has been retaliated against in violation of his rights to free speech; has been
compelled to work forced overtime, and has been penalized for reporting, opposing and
complaining about the illegal quotas and its racially discriminatory application against
the minority community

32. Pedro Serrano is a Hispanic male and a police officer employed by the NYPD
who has been under supervisory pressure to comply with the illegal quotas; has suffered
negative employment consequences as a result of the failure to meet the illegal quota; has
been racially discriminated against in the imposition of command disciplines for failing
to meet the illegal quota; Has expressed his opposition to the illegal quotas and has been
retaliated against in violation of his rights to free speech; and has been penalized for
reporting and complaining about the illegal quotas and its racially discriminatory
application against the minority community.

33. Sandy Gonzalez is a Hispanic male and a police officer employed by the NYPD

who has been under supervisory pressure to comply with the illegal quotas; has suffered
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negative employment consequences as a result of the failure to meet the illegal quota; has
been racially discriminated against in the imposition of command disciplines for failing
to meet the illegal quota; has expressed his opposition to the illegal quotas and has been
retaliaied against in violation of his rights to free speech; and has been penalized for
reporting and complaining about the illegal quotas and its racially discriminatory
application against the minority community

34. Plaintiff Ritchie Baez is a black male of Hispanic heritage and a police officer
employed by the NYPD who has been under supervisory pressure to comply with the
illegal quotas; has been racially discriminated against in the imposition of command
disciplines for failing to meet the illegal quota; has suffered negative employment
consequences as a result of the failure to meet the illegal quotas; has been penalized for
reporting and complaining about the illegal quotas and its racially discriminatory
application against the minority community.

35. Plaintiff Julio Diaz is a Hispanic male and police officer employed by the NYPD
who has been under supervisory pressure to comply with the illegal quotas; has been
tacially discriminated against in the imposition of command disciplines for failing to
meet the illegal quota; has suffered negative employment consequences as a result of his
failure to meet the illegal quotas; and has been penalized for reporting and complaining
about the illegal quotas and its racially discriminatory application against the minority
community.

36. Plaintiff Felicia Whitely is a female African American Police Officer employed
by the NYPD who has been under supervisory pressure to comply with the illegal quotas;

has been racially discriminated against in the imposition of command disciplines for
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failing to meet the illegal quota; has suffered negative employment consequences as a
result of the failure to meet the illegal quotas; and has been penalized for reporting and
complaining about the illegal quotas and its racially discriminatory application against
the minority community.

37. Plaintiff Roman Goris is a Hispanic male and police officer employed by the
NYPD who has been under supervisory pressure to comply with the illegal quotas; has
been racially discriminated against in the imposition of command disciplines for failing
to meet the illegal quota; has suffered negative employment consequences as a result of
his failure to meet the illegal quotas; and has been penalized for reporting and
complaining about the illegal quotas and its racially discriminatory application against
the minority community.

38. Plaintiff Derick Waller is an African American male police officer employed by
the NYPD who has been under supervisory pressure to comply with the illegal quotas;
has been racially discriminated against in the imposition of command disciplines for
failing to meet the illegal quota; has expressed his opposition to the illegal quotas and has
been retaliated against in violation of his right to free speech; has suffered negative
employment consequences as a result of his failure to meet the illegal quotas; and has
been penalized for reporting and complaining about the illegal quotas and its racially
discriminatory application against the minority community.

39. Plaintiff Kareem Abdullah is an African American male police officer employed
by the NYPD who has been under supervisory pressure to comply with the illegal quotas;
has been racially discriminated against in the imposition of command disciplines for

failing to meet the illegal quota; has suffered negative employment consequences as a
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result of his failure to meet the illegal quotas; and has been penalized for reporting and
complaining about the illegal quotas and its racially discriminatory application against
the minority community.

40. Plaintiff Olayokun Olagoke is an African American male police officer employed
by the NYPD who has been under supervisory pressure to comply with the illegal quotas;
has been racially discriminated against in the imposition of command disciplines for
failing to meet the illegal quota; has suffered negative employment consequences as a
result of his failure to meet the illegal quotas; and has been penalized for reporting and
complaining about the illegal quotas and its racially discriminatory application against
the minority community.

41. Plaintiff Widmare Pierre is an African American male police officer employed by
the NYPD who has been under supervisory pressure to comply with the illegal quotas;
has been racially discriminated against in the imposition of command disciplines for
failing to meet the illegal quota; has suffered negative employment consequences as a
result of his failure to meet the illegal quotas; and has been penalized for reporting and
complaining about the illegal quotas and its racially discriminatory application against
the minority community

42. Defendant the City of New York (the City) is and was at all times relevant hereto,
a municipal corporation duly organized and existing under the laws of the State of New
York, exercising governmental authority. Defendant is an employer subject to Federal
Laws and to the New York State Human Rights Law and New York City Local Law.

Defendant City is a person for purposes of 42 U.S.C. §§ 1981 and 1985 and is and was
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the employer of the named plaintiffs and prospective class members as well as the
individually named defendants, at all relevant times.

43. Defendant the New York City Police Department (NYPD) was and is a
department, agency, bureau and /or subdivision of the Defendant City. Defendant NYPD
is and was at ail times relevant hereto, a local government agency of the City of New
York and was or is the employer of all the individually named plaintiffs, the prospective
class members and the individual defendants herein.

44, Defendant Bill De Blasio is the Mayor of the City of New York. Upon
information and belief, Defendant De Blasio has routinely met with the Police
Commissioner; Deputy Police Commissioners and other high ranking members of the
NYPD to set policy and make recommendations relating to the polices, administration,
practices, customs and procedure of the NYPD and relating to the disciplinary system and
implementation of penalties within the NYPD. Defendant DeBlasio knew or should have
known of the customs, practices and policies described in this complaint, including but
not limited to the maintenance of the illegal quota system by the NYPD and its racially
discriminatory effect on the minority community and minority officers including the
plaintiffs, and Mayor DeBlasio condoned, ratified and/or authorized such practices and
policies.

45. Defendant William J. Bratton has been the Police Commissioner for the City of
New York from January 2014 to the present. Defendant Bratton is an employee of the
City of New York and is the principal administrator of defendant NYPD. He is
responsible for the application of the NYPD’s enforcement and administrative polices

including its internal investigatory and disciplinary process. He is the final authority in all
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disciplinary matters within the NYPD. Police Commissioner William J. Bratton knew or
should have known of the customs and practices described in this complaint, including
but not limited to the maintenance of the illegal quota system by the NYPD and its
racially discriminatory effect on the minority community and minority officers including
the plaintiffs and Commissioner Bratton condoned, ratified and/or authorized such
conduct.

46. Defendant James P. O’Neill is the NYPD’s Chief of Department and the highest
ranking non-civilian police uniformed police officer. Defendant O’Neill is an employee
of the City of New York. Upon information and belief, he is in charge of all NYPD
operations answering only to the Police Commissioner and the Mayor. Defendant
O’Neill, knew or should have known of the customs and practices described in this
complaint, including but not limited to the maintenance of the illegal quota system by the
NYPD and its racially discriminatory effect on the minority community and minority
officers including the plaintiffs and Commissioner Bratton condoned, ratified and/or
authorized such conduct.

47. Defendant NYPD Patrol Bureau Chief Carlos M. Gomez is the NYPD’s
commanding officer of patrol services, which includes the precints. Defendant Gomez
exercised supervisory control over the plaintiffs at all relevant times and participated in
making and executing the policy and practices complained of herein. Defendant Gomez,
knew or should have known of the customs and practices described in this complaint,
including but not limited to the maintenance of the illegal quota system by the NYPD and

its racially discriminatory effect on the minority community and minority officers
 

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including the plaintiffs and defendant Gomez condoned, ratified and/or authorized such

conduct.

STATEMENT OF FACTS
(Experiences of the named plaintiffs)

48. Plaintiff Edreweene Raymond is a police officer in the NYPD’s Transit District.
He was inducted in to the force in 2008. During his first year, he was told by his
Supervisors at Transit District 32, in Crown Heights, Brooklyn, that his core duty was to
get as many arrests as possible and issue as many Summons as possible in order to make
the quota. After seven months on the job, he complained to his superiors about this
requirement. He requested of his Sergeant that he be allowed to use his discretion and
that he be excused from the quota. His request was denied. In 2010, for his lack of
activity, an epheumism for not meeting the quota, he was given a punitive posting, the
Coney Island Summer detail. As further punishment, he was posted to the midnight shift.
On the mid-night shift, he was again given a quota and told by his superiors to make the
quota. He was directed to make the quota by arresting people on the train at night for
occupying more than one seat. He refused to do this and again failed to make the quota.
He was chastised by his supervisors and told that his numbers were too low and he
needed to make the numbers just like everyone else or be punished and possibly fired. In
2012, he was transferred out of the a Special Operations Unit because of not getting
enough arrests to meet the quota, and told “‘to be in this unit, you have to produce the
required numbers”. Since 2012, he has been posted to the 3" Platoon of the Transit
District, and for not making the quota and for complaining about it, he has received

below par evaluations and his superiors have threatened to place him on performance
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monitoring. Although Officer Raymond is an excellent candidate for promotion to the
rank of sergeant, and scored 93 in the qualifying examination, thus ranking him number
8" out of the 932 individuals who took the same examination, he has been threatened by
his superiors that unless he increases the number of arrests and summons issued, he will
not be promoted to the rank of sergeant. In July 2014, Officer Raymond wrote a memo to
the Commanding Officer of Collaborative Initiatives, complaining about the strong
pressure to increase arrests for low-level transit crimes and detailing his personal
experience with this pressure.

49. Asa police officer within the Transit District, Officer Raymond was and is
required by his supervisors to meet a quota of 1 arrest and 5 summons a month. Officer
Raymond is unwilling to meet the quota because he believes that it is unfair,
unreasonable, and racially discriminatory against the low-income minority riders of the
public transit system.

50. For not meeting the quota, plaintiff Raymond was penalized by punitive postings,
low performance evaluations, denial of upgrades and promotions, denial of overtime, and
denial of time off. His supervisors threatened to place him on performance monitoring
and he was denied promotion that he qualified for.

51. For complaining about the quota and expressing his opinion about it, Officer
Raymond was penalized by punitive postings, low performance evaluations, denial of
overtime, and denial of time off. His supervisors threatened to place him on performance
monitoring and he was denied promotion.

52. Plaintiff Sandy Gonzalez is a police officer within the NYPD’s 40" precint.

Plaintiff Gonzalez was and is required by his precint commander and other superiors to
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meet a quota of one arrest and twenty summons per month. Plaintiff Gonzalez was
unwilling to meet the quota because he believed that it was unfair, unreasonable, and
racially discriminatory against residents of the south Bronx. In 2013, he was penalized
for not meeting the quota by being given a low evaluation score of 2.5. He was also
penalized by being forced to work, alone, on a fixed post in cold weather at a dangerous
location at a time when the NYPD directives were for all patrolmen to have partners.
During this posting, plaintiff Gonzalez fell and suffered injury and reported it to his
superiors. For not writing enough summons, plaintiff Gonzalez was threatened with
negative evaluations and chastised by his precint commander, Deputy Inspector
Christopher McCormack, who stated “on 128" Street, you can write 100 C summons, any
day”. (‘C’ is for criminal).

53. For not meeting the quota, plaintiff Gonzalez was penalized by punitive postings,
low performance evaluations, denial of overtime, forced overtime and denial of time off.
He was placed on performance monitoring, which could have led to termination.

54. Plaintiff Gonzalez made a formal complaint to his superiors and to the Internal
Affairs Bureau of the NYPD regarding the imposition of the illegal quota. His superiors
retaliated with threats and attempts to humiliate Mr. Gonzalez verbally and by instituting
an un-warranted investigation against him regarding his fall. A white police officer who
fell under the same circumstances as plaintiff Gonzalez, was not investigated.

55. Plaintiff Ritchie Baez was employed by the NYPD as a police officer in 2004. He
was posted to the 40™ precint in 2005 and remains there till today. In 2013, plaintiff Baez
was required by his precint commander and other superiors to meet a quota of one arrest

and twenty summons per month. Plaintiff Baez was unwilling to meet the quota because
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he believed that it was unfair, unreasonable, and racially discriminatory against residents
of the south Bronx. Plaintiff did not meet the quota in 2013. Plaintiff Baez was penalized
for not meeting the quota by being given a low performance evaluation of 2.5. In the year
that he received the low evaluation of 2.5, plaintiff Ritchie Baez performed great police
work in three instances; In May 2013, Officer Baez assisted a citizen of Spanish descent
whose car had been stolen. Officer Baez used his knowledge of Spanish to interview the
victim and realizing that time was of the essence, quickly performed a canvass of the
immediate neighborhood for the missing vehicle with the result that he immediately
found the stolen vehicle and arrested the perpetrator who was charged with Grand
Larceny Auto; in October 2013, Officer Baez was helping Housing police provide crowd
control duties at 152" Street, when he recognized a face in the crowd as an accused
robber from a wanted poster. During the robbery, the suspect was accused of slashing her
victim several times in the face. Acting quickly, Officer Baez promptly apprehended and
arrested the suspect; The same year, Officer Baez was assisting a Special Operations Unit
during an automobile stop. He observed an individual being interrogated by the Sergeant
of the Special Operations Unit. Officer Baez realized that he had seen this individual on a
wanted poster as a known gang member being sought by the police. When the individual
gave a fictitious name to the Sergeant, Officer Baez alerted the Sergeant and was proven
correct by a check of the NYPD records, leading to the arrest of the wanted individual.
Despite the above, Plaintiff Baez was given a low performance evaluation in 2013
because his arrest and summons numbers did not meet the quota.

56. For not meeting the quota, plaintiff Baez was penalized by punitive postings, low

performance evaluations, denial of overtime, forced overtime and denial of time off. He
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was placed on performance monitoring, which could have led to termination. He was
posted to the sky watch posting, which was used by his superiors at the precint, solely as
a punitive posting.

57. Plaintiff Baez complained to his superiors about the imposition of illegal quotas
and the penalties for not meeting the quota, to no avail.

58. Plaintiff Adhyl Polanco was employed by the NYPD as a police officer in 2005.
He was posted to the 41 Precint in 2005. His supervisors required him to meet a quota of
one arrest and twenty summons per month. Plaintiff Polanco was unwilling to meet the
quota because he believed that it was unfair, unreasonable and racially discriminatory
against the minority community. Plaintiff complained about the quota system and
expressed his unwillingness to comply with it. Plaintiff Polanco was penalized for not
meeting the quota with low performance evaluations, punitive postings, denial of time
off, denial of overtime, punitive transfers and forced overtime.

59. | NYPD supervisors at the 41 Precint enforced the quotas through coercion and
threats of job loss. A supervisor was recorded saying about the quota “If you think one
and twenty is breaking your balls, guess what you'll be doing. You are going to be doing
a lot more, a lot more than what they are saying”. Another supervisor then stated: “next
week 25 and one, 35 and one, and until you decide to quit this job and go to work at Pizza
Hut, this is what you are going to be doing till then”. Officer Polanco recorded these
comments.

60. Officer Polanco spoke out publicly about the NYPD’s maintenance of the quota
system, and in 2009, testified in the Floyd case (federal class action law suit regarding

unconstitutional “stop and frisks” by the NYPD. The defendants have punished Officer
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Polanco with unwarranted and improperly conducted disciplinary investigations,
including integrity tests and interrogations, and imposed unfounded, unwarranted and
overly disciplinary penalties including, loss of vacation and suspension.

61. Plaintiff Pedro Serrano is a police officer who was posted to the 40" precint in
2005 and remains there till date. Officer Serrano’s supervisors at the 40 precint required
and require him to write at least 20 summons and perform one arrest per month. Plaintiff
Serrano is unwilling to meet the quota because he believes it to be unfair, unreasonable
and racially discriminatory against the minority community. Plaintiff Serrano complained
to his supervisors about the quota and failed to maintain the numbers required of him. As
a consequence, his supervisors threatened him with negative consequences such as forced
overtime on his weekends off, punitive postings, and then carried out those threats.

62. Plaintiff Serrano experienced first hand the negative effect of the quotas imposed
by his supervisors on the minority community where he patrolled in the South Bronx. For
his failure to meet the quota, he received a negative performance evaluation. One of his
supervisors Executive Officer Materasso, told him that in order for him to get a better
evaluation, he must arrest, summon and stop and frisk more people. Plaintiff Serrano
explained to Officer Materasso, the deputy commandant of the 40" precint, that the
residents of the 40" precint are predominantly low income and that he did not feel right
about giving them spurious summons. She disagreed and referred to the residents of the
40" precint as “animals”. Plaintiff Serrano, of Puerto Rican origin similar to many
residents of the South Bronx, was deeply offended.

63. In the spring of 2012, while driving by Beekman Avenue and East 141 street, the

commandant of the 40" precint, defendant Christopher McCormack, saw a black person
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standing against the wall. In the presence of plaintiff Serrano, Inspector McCormack got
out of his car and walked up to this individual and proceeded to open the black man’s
pants. He opened the man’s zipper, pulled down the man’s pants and exposed the man’s
penis. He then grabbed the man’s penis and passed his hands between the man’s butt
cheeks. Defendant McCormack then pulled out some narcotics and gave it to his driver.
Upon information and belief, Defendant McCormack conducted himself in a similar
manner at other times. Plaintiff Serrano was offended by this conduct.

64. Plaintiff Serrano reported the illegal quotas and the harassment received from his
superiors for not meeting the quotas, to the Internal Affairs Bureau of the NYPD but
nothing was done about it. Plaintiff Serrano also testified in the F loyd federal class action
lawsuit regarding the use of illegal quotas within his precint. As punishment, he has
received low performance evaluations, forced overtime, cancelled time off, threats of
termination and punitive postings.

65. Plaintiff Roman Goris is a police officer within the NYPD’s 77" precint. Plaintiff
Goris was and is required by his precint commander and other superiors to meet a quota
of one arrest and twenty summons per month. Plaintiff Goris is unwilling to meet the
quoia because he believes that it is unfair, unreasonable, and racially discriminatory
against the minority residents of Brooklyn. Police Officer Goris believes that the quota
system implemented by the Police Department is the main reason for the public’s
hostility towards police officers and that police officers should be allowed to use their
discretion on a case by case basis.

66. For not meeting the quota, plaintiff Goris was penalized by punitive postings, low

performance evaluations, denial of overtime and denial of time off.
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67. Plaintiff Julio Diaz is a police officer within the NYPD’s 75" precint. Plaintiff
Diaz was and is required by his precint commander and other superiors to meet a quota of
one arrest and twenty summons per month. Plaintiff Diaz is unwilling to meet the quota
because he believes that it is unfair, unreasonable, and racially discriminatory against
minority residents of the city of Brooklyn.

68. For not meeting the quota, plaintiff Diaz was penalized by punitive postings, low
performance evaluations, denial of overtime, denial of upgrades or promotions, forced
overtime and denial of time off. He was placed on performance monitoring, which could
have led to termination.

69. Plaintiff Derrick Waller was employed by the NYPD as a police officer in 1995.
He is currently a police officer assigned to the 77" precint in Brooklyn. Officer Waller is
required by his precint commander and other superiors to meet a quota of one arrest and
thirty summons per month. Such quotas were posted on the bulletin boards of the 77"
precint and officers who failed to meet the quota, including officer Waller, were
identified on an list issued by Deputy Inspector Elvio Capocci, and threatened with
disciplinary actions for failing to comply. Plaintiff Waller is unwilling to meet the quota
because he believes that it is unfair, unreasonable, and racially discriminatory against
minority residents of the City of Brooklyn. From 2006 to the present, plaintiff Waller has
been under intense pressure by numerous members of the NYPD supervisory echelon to
increase C summons, arrests and UF-250’s (stops and frisks). Officer Waller on one
occasion was told by a Sgt. Anthony Laroche of the performance monitoring division to
“pick any dude walking across the street with his pants hanging down, underwear

showing and write a jay walking summons” and “just write the damn summonses”.
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70. For not meeting the quota, complaining about the quota, and expressing his
opposition to the illegal quota, plaintiff Waller was penalized by punitive postings, low
performance evaluations, denial of overtime, and denial of time off. He was placed on
performance monitoring, which could have led to termination. He was posted to the sky
watch posting, which was used by his superiors at the precint, solely as a punitive
posting.

71. Plaintiff Waller complained to his supervisors within the NYPD including Lt.
David Wittman, Inspector Cappocci and Lt. Cotton, on several occasions regarding the
quota and the unfair punishment for not meeting the quota, to no avail. Officer Waller has
been punished further by being excluded from any off duty employment which other
officers are routinely allowed to engage in and being excluded from spike overtime, taken
out of a squad patrol vehicle and assigned to foot posis although he is the most senior
officer in his squad, and given steady tours of Skywatch, a solely punitive posting.

72. Plaintiff Kareem Abdullah is a police officer within the NYPD’s 43 precint.
Officer Abdullah joined the force in 1993 and was posted to Transit District 11. While
there, plaintiff Abdullah was required by his superiors to meet a quota of one arrest and
twenty summonses a month, or one arrest and then summonses for those on the mid-
nights shift. Plaintiff Abdullah was unwilling to meet the quota because he believed that
it was unfair, unreasonable, and racially discriminatory against minority residents of the
Bronx. For not making the quota, “refusing to arrest people solely to make up the
numbers” he was transferred the 43™ precint and placed on performance monitoring. He
was told by his superiors that in order to be relieved from performance monitoring, he

had to make two or three arrests a month at least. At the 43 Precint, the quota that
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officer Abdullah currently has to meet is one arrest and ten summonses a month, although
this is less rigorous than the quota imposed at the Transit District, it is still strictly
enforced.

73. For not meeting the quota, plaintiff Abdullah was penalized by punitive postings,
low performance evaluations, denial of overtime, and denial of time off. He was placed
on performance monitoring, which can lead to termination.

74. Plaintiff Abdullah made a formal complaint to his PBA delegate and via his PBA
delegate to his superiors at One Police Plaza regarding the quota imposition and his
punishment for not meeting the quota. He has received no response.

75. Plaintiff Olayokun Olagoke is a police officer within the NYPD’s 66" Precint.
Officer Olagoke joined the force in 2008. Asa minority black officer in a mostly white
squad, plaintiff Olagoke was disproportionately punished for not meeting the quota while
white police officers, who also failed to meet the quota, received less or no punishment.
At the 66™ Precint, plaintiff Olagoke is required to meet a quota of ten A summons, one
B summons, one C summons (16 summons) and one arrest per month. Plaintiff Olagoke
is unwilling to meet the quota because he believes that it is unfair, unreasonable, and
racially discriminatory against minority residents of Brooklyn.

76. For not meeting the quota, plaintiff Olagoke was penalized by punitive postings, a
punitive transfer, low performance evaluations, denial of overtime, and denial of time off.
He was also suspended from paid detail.

77. Plaintiff Olagoke made a formal complaint to his union representative and his
commanding officer regarding the quota and his unfair punishment for failing to meet it

and was told that he should bring his numbers up if he wants to escape punishment. In
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retaliation for his complaints, plaintiff Olagoke was subjected to a hostile work
environment wherein his Sergeant, Joe Chen, subjected him to verbal humiliation, at one
time ordering him not to speak on the squad car radio, calling him “stupid” and a
“moron” and threatening to and putting him on a punitive post at the boardwalk.

78. Plaintiff Felicia Whitely is a police officer in the NYPD’s Housing Burea, PSA 1
charged with patrolling the New York City Housing Developments. Officer Whitely is
required to meet a quota of one arrest and five C summons every month. Plaintiff Whitely
is unwilling to meet the quota because she believes that is is unfair, unreasonable, and
racially discriminatory against minority residents of Brooklyn.

79. For not meeting the quota, plaintiff Whitely was penalized by punitive postings, a
punitive transfer, low performance evaluations, denial of overtime, and denial of time off.
Plaintiff Whitely was banned from overtime and from paid detail as a result of her
inability to meet the quota.

80. Plaintiff Whitely has complained about the foregoing to her platoon commander,
her union delegate, and her supervisor, to no avail.

81. Plaintiff Widmare Pierre is a police officer assigned to the NYPD’s 66" Precint
located in Brooklyn. As an officer in the 66" precint Officer Widmarc is required to meet
a quota of ten A summons, one B summons, one C summons (16 summons) and one
arrest per month. Plaintiff Widmarc is unwilling to meet the quota because he believes
that it is unfair, unreasonable, and racially discriminatory against minority residents of
Brooklyn.

82. For not meeting the quota, plaintiff Widmare was penalized by punitive postings,

a punitive transfer, low performance evaluations, denial of overtime, and denial of time
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off. Plaintiff Widmarc was told by his superiors that he received a sub-par evaluation

because he did not have enough stop and frisks and did not write enough C summonses. .

CLASS ACTION ALLEGATIONS
83. Plaintiffs bring this action pursuant to Rule 23(a) and (b)(2) of the Federal Rules
of Civil Procedure on their own behalf and on behalf of all other persons similarly
situated.
84. Plaintiffs class consists of all Hispanic and African-American police officers who
are being compelled and pressured to meet illegal quota numbers in the issuance of
summonses, in the stop and or frisks of citizens and in the arrest of citizens, within the
minority communities targeted by the NYPD, who have been penalized with negative
employment consequences for not meeting said quotas, who have been penalized by
being forced to work overtime on their time off, and who, upon information and belief,
have been subjected to discrimination on the basis of color, race or national origin in the
form of a hostile work environment, disparate performance evaluation treatment, and
disparate disciplinary treatment for having challenged the illegal quota system in the
department. Plaintiff's claims are typical of the claims of the other members of the class
as they have all been forced, pressured and compelled to meet illegal quotas, have
suffered negative employment consequences for not meeting the illegal quotas, and have
suffered disparate performance evaluations and disparate disciplinary treatment for their
failure to meet the desired quota numbers. Plaintiff’ s attomeys are qualified and generally

able, with extensive experience in employment litigation. For these reasons, plaintiffs
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will fairly and adequately protect the interests of the class in this action for declaratory
and injunctive relief and for compensatory and punitive damages.

85. | The members of this class are too numerous to be joined in one action. Upon
information and belief, there are approximately 6000 Hispanic and 5000 A frican-
American police officers who will have been and will be affected by the imposition of the
illegal quota system, the negative employment consequences of not meeting the illegal
quota system, the imposition of forced overtime on their time off, disparate performance
evaluations and disparate disciplinary actions for failure to meet the illegal quota
numbers. Upon information and belief, thousands of these officers have already been
subjected to the said unlawful conditions.

86. The questions of law common to the above described class is whether or not the
City of New York through the NYPD, compels police officers to comply with illegal
quotas in the performance of arrests, stops and or stop and frisks, and the writing of
summonses and tickets and in the performance of their duties contrary to New York State
Labor Law § 215-a; whether the City of New York through the NYPD, penalizes police
officers for failing to comply with illegal quotas contrary to New York State Labor Law §
215-a; whether as a result of being forced to meet illegal quota numbers in their own
minority neighborhoods, the plaintiffs have suffered racially disparate performance
evaluations and racially disparate disciplinary treatment and whether such conduct by the
defendants constitute a deprivation of the rights conferred on the plaintiffs by the Civil
Rights Act of 1866, 42 U.S.C. § 1981, 42 U.S.C. §1985, the New York State Human
Rights Law, New York Executive Law §296; New York City Local Law 59 of 1986, as

amended by Local Rule 39 of 1991, §§8-101, et seq.
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87. Plaintiffs and members of their class meet the requirements of Rule 23(a) of the

Federal Rules of Civil Procedure (F.R.C.P.).889. | The defendants have acted or refused
to act, on grounds generally applicable to the class, thereby making appropriate injunctive
relief and declaratory relief with respect to the class as a whole, meeting the requirements

of Rule 23(b)(2) of the FRCP.

FACTUAL BACKGROUND COMMON TO ALL CLAIMS FOR
RELIEF

88. Section 215-a of New York State’s Labor Law prohibits employers from
requiring quotas in the issuance of summons, tickets or number of arrests, and also
prohibits employers from penalizing employees for not meeting such illegal quotas or
measuring an employee productivity by a failure to meet a quota. Section 215 of the
Labor Law further prohibits employers from penalizing employees for reporting or
complaining about the employer’s violation of the Labor Law. In direct violation of these
provisions, under the leadership of the named defendants, the named plaintiffs and ali un-
named members of the prospective class have been compelled, instructed, directed and or
mandated to perform a certain number of arrests, perform a certain number of stops and
or stop and frisks, and issue a certain number of summons, per month. Similarly, the
named plaintiffs and members of the prospective class have been punished by the
defendants, by being harassed, threatened with termination and other negative
consequences, received negative evaluations, lost compensation, lost overtime, lost
vacation days earned, punitive postings, punitive transfers, denial of upgrades and

promotions, denial of overtime, and denial of accrued time earned, for failure to meet the
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mandated numbers of arrests, stop and or stop and frisks, and the mandated number of
summons.

89. The illegal quota system is used in every work operational unit or sub-unit of the
NYPD throughout the five boros of New York and affects all police officers who have to
comply or face punitive consequences.

90. The named plaintiffs and all members of the prospective class have suffered
actual damages by being harassed, threatened with termination, given negative
evaluations, lost compensation, lost overtime, lost vacation days earned, lost time off,
denial of overtime, denial of upgrades, denial of promotions, punitive postings and
punitive transfers, all for failure to meet the mandated quota of arrests, stops and
summons.

91. The named plaintiffs and all members of the prospective class have been
subjected to disparate and racially discriminatory performance evaluations by the
defendants as a means of compelling the Latino and African-American plaintiffs to
enforce racially discriminatory quotas in the predominantly minority communities
targeted by the NYPD.

92. The named plaintiffs and all members of the prospective class have been
subjected to disparate and racially discriminatory disciplinary treatment by the defendants
as a means of compelling the Latino and African-American Plaintiffs to enforce racially

discriminatory quotas in the predominantly minority communities targeted by the NYPD.
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18" CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Claims of named plaintiffs and class members for illegal quotas and
penalties imposed on the plaintiffs contrary to Labor Law § 215-a)

93. The allegations in paragraphs 1 through 92 above are incorporated herein as if
fully set forth below.

94. The defendant the City of New York, by its police department, the defendant
NYPD, and through its agents, the named individual defendants, and the individual
defendants in their personal and official capacities, have compelled, instructed, directed
and mandated the plaintiffs to perform a certain number of arrests, perform a certain
number of stops and stop and frisks, and issue a certain number of summons, per month.
In other words, the defendants have maintained an illegal quota system for police officers
for arrests and summonses, and in measuring the productivity of the plaintiffs.

95. That the defendant, the City of New York, by its Police Department, the
defendant, NYPD, and through its agents and employees, the named individual
defendants and the individual defendants in their personal and official capacities, have
penalized the plaintiffs for failure to meet the illegal quotas by threatening the plaintiffs
with termination, giving the plaintiffs negative evaluations, denying the plaintiffs
compensation, denying the plaintiffs overtime, denying the plaintiffs vacation days
earned, denying the plaintiffs time off, denying the plaintiffs overtime, denying the
plaintiffs upgrades, denying the plaintiffs promotions, subjecting the plaintiffs to punitive
postings and punitive transfers, and otherwise illegally punishing the plaintiffs by
subjecting the plaintiffs to negative employment conditions for failure to meet the illegal

quota.
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96. That the defendants actions in maintaining the quota and penalizing the plaintiffs
for failing to meet the quota are prohibited by New York State Labor Law, Section 215-a.
97. That the named plaintiffs and prospective class members have suffered damages
as a result of the imposition of the illegal quotas and the punitive actions taken against

them for failure to meet the illegal quotas.

2X” CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Claims of named plaintiffs and class members against all
defendants for racially discriminatory employment practices in
violation of the Civil Rights Act of 1866, 42 U.S.C. § 1981)
98. The allegations in paragraphs 1 through 97 above are incorporated herein as if
fully set forth below.
99. The named plaintiffs and members of the prospective class are Hispanic and
African-American police officers patrolling in areas where the residents are
predominantly minorities as in Latino and African-American.
100. The illegal quota system maintained by the defendants has a negative effect on the
community as it leads to unreasonable and un-warranted arrests, stops, stop and frisks,
and summonses.
101. The illegal quota system implemented by the defendants has a disproportionate
and racially discriminatory effect on the minority community because the NYPD targets
the minority community to obtain the numbers required by the quota system.
102. The named plaintiffs and members of the prospective class are unwilling and
unable to meet and enforce the illegal quotas on their own minority communities due to

its racially discriminatory nature and the fact that it leads to unfair, unreasonable and un-

warranted enforcement actions against their own minority community.
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103. The named plaintiffs and all members of the prospective class have been
subjected to disparate and racially discriminatory performance evaluations by the
defendants as a means of compelling the Latino and African-American plaintiffs to
enforce racially discriminatory quotas in the predominantly minority communities
targeted by the NYPD.

104. The named plaintiffs and all members of the prospective class have been
subjected to disparate and racially discriminatory performance evaluations by the
defendants as a means of compelling the Latino and African-American plaintiffs to
enforce racially discriminatory quotas in the predominantly minority communities
targeted by the NYPD.

105. The racially disparate performance evaluations and the racially disparate
disciplinary actions to which the plaintiffs have been subjected to constitute a deprivation
of the rights conferred on the plaintiffs by the Civil Rights Act of 1866, 42 U.S.C. §
1981. Section 1981 provides in pertinent part that “all persons within the jurisdiction of
the United States shall have the same right in every State and Territory to make and
enforce contracts.....and to the full and equal benefit of all laws and proceedings for the
security of persons and property as is enjoyed by white citizens”.

106. A contract of employment exists between each of the plaintiffs and defendants
NYPD and the City of New York, in that the NYPD and each plaintiff agreed that each
plaintiff would be hired by the department to work for it ina specific position described
in the complaint, at a specific average rate, for an indefinite period of time.

107. Defendants actions as set forth herein prevented plaintiffs and prospective class

members from enjoying and enforcing their employment contract rights on the same basis
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as white persons, thereby denying said rights in violation of the Civil Rights Act of 1866,
42 U.S.C. Section 1981, as amended.

108. Defendants actions had both the intention and effect of depriving plaintiffs of the
rights and benefits of their contractual relationship with the Department on the basis of
their race, color and or national origin.

109. The named plaintiffs and members of the prospective class have suffered damages
as a result of such deprivation including but not limited to loss of promotions and
upgrades, loss of earned time off, punitive postings, punitive transfers, and the plaintiffs
and class members have suffered distress, humiliation, great expense, embarrassment and
damage to their reputations.

110. The actions of defendants in depriving plaintiffs of their civil rights as
hereinbefore stated, were willful and malicious. As a result of Defendant’s reckless and
intentional acts, plaintiff and members of their class are entitled to compensatory

damages and punitive damages in an amount to be determined at trial.

3®° CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Claims of named plaintiffs and class members against all
defendants for racially discriminatory employment practices in
violation of 42 U.S.C. §1985 and §1986)
111. The allegations in paragraphs 1 through 110 above are incorporated herein as if
fully set forth below.
112. Upon information and belief, Defendants have and continue to conspire with and
amongst each other to deny plaintiffs and members of their class the rights, privileges and

immunities, and the equal protection of the laws to which they are entitled under the

constitution and laws of the United States in violation of 42 U.S.C. Section 1985.
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113. Asa direct result of this conspiracy, the defendants injured plaintiffs and deprived
them of having and exercising their rights and privileges under the Constitution and laws
of the United States.

114. The actions and omissions of Defendants described herein were willful and
malicious and based upon invidious racial and class based animus. The purpose of the
aforementioned conspiracy was to violate the civil rights of the plaintiffs and as such,
violated 42 U.S.C. Section 1985.

115. All of the individual defendants, as public officials, had notice of the conspiracy
set forth above, in violation of Section 1985 and failed and refused to prevent, prohibit
and ameliorate the aforementioned conspiracies notwithstanding their abilities to do so.
Said failure and/or refusal to prevent, prohibit and/or ameliorate constituted a violation of
42 U.S.C. § 1986.

116. The actions of Defendants, in depriving plaintiffs of their constitutional and Civil
Rights as hereinbefore stated, were willful and malicious. As a result of Defendants
reckless and intentional acts, plaintiffs and members of their class are entitled to

compensatory damages and punitive damages in an amount to be determined at trial.

4*® CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Claims of named plaintiffs and class members against all
defendants for racially discriminatory employment practices in
violation of New York State Human Rights Law, New York
Executive Law §290 )

117. The allegations in paragraphs 1 through 116 above are incorporated herein as if

fully set forth below.
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118. This claim is brought pursuant to the supplemental jurisdiction of the Court, under
New York State Human Rights Law, Executive Law §§ 290 et seq.

119. Executive Law §290 provides in pertinent part that “the opportunity to obtain
employment without discrimination because of race or national origin is hereby
recognized as and declared to be a civil right”. Executive Law § 296 provides in part as
follows “it shall be an unlawful discriminatory practice for an employer ..... because of
an individual’s age, race, creed, color, national origin.... to discriminate against such
individual in compensation or in terms, conditions or privileges of employment.”

120. Plaintiffs are members of a protected class as defined by New York Executive
Law §296.

121. The named plaintiffs and members of the prospective class are Hispanic and
African-American police officers patrolling in areas where the residents are
predominantly minorities as in Latino and African-American.

122. The illegal quota system maintained by the defendants has a negative effect on the
community as it leads to unreasonable and un-warranted airests, stops, stop and frisks,
and summonses.

123. The illegal quota system implemented by the defendants has a disproportionate
and racially discriminatory effect on the minority community because the NYPD targets
the minority community to obtain the numbers required by the quota system.

124. The named plaintiffs and members of the prospective class are unwilling and
unable to meet and enforce the illegal quotas on their own minority communities due to
its racially discriminatory nature and the fact that it leads to unfair, unreasonable and un-

warranted enforcement actions against their own minority community.
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125. The named plaintiffs and all members of the prospective class have been
subjected to disparate and racially discriminatory performance evaluations by the
defendants as a means of compelling the Latino and African-American plaintiffs to
enforce racially discriminatory quotas in the predominantly minority communities
targeted by the NYPD.

126. The named plaintiffs and all members of the prospective class have been
subjected to disparate and racially discriminatory performance evaluations by the
defendants as a means of compelling the Latino and African-American plaintiffs to
enforce racially discriminatory quotas in the predominantly minority communities
targeted by the NYPD.

127. The racially disparate performance evaluations and the racially disparate
disciplinary actions to which the plaintiffs have been subjected to constitute unlawful
discrimination on the basis of race and national origin in the compensation, terms,
conditions or privileges of employment contrary to the New York State Human Rights
Law, New York Executive Law §296.

128. The named plaintiffs and members of the prospective class have suffered damages
as a result of such deprivation.

129. Plaintiffs and members of the class they represent have suffered and will continue
to suffer irreparable injury caused by defendant’s illegal conduct.

130. Asa direct and proximate result of defendant’s unlawful acts, plaintiffs and
members of the class they represent have suffered and will continue to suffer loss
income, loss of upgrades and promotions, loss of time earned, forced overtime during

scheduled time off, loss of earned time off, and loss of other employment benefits and
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plaintiffs have suffered and continue to suffer distress, humiliation, great expense,
embarrassment and damage to their reputations.

131. The actions of the defendants in depriving plaintiffs and members of the class
they represent of their constitutional and civil rights as hereinbefore stated, were willful
and malicious. As a result of defendants reckless and intentional acts, plaintiffs and
members of their class are entitled to compensatory and punitive damages in an amount

to be determined at trial.

si¥ CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Claims of named plaintiffs and class members against all
defendants for racially discriminatory employment practices in
violation of New York City Human Rights Laws)
132. The allegations in paragraphs 1 through 131 above are incorporated herein as if
fully set forth below.
133. Defendants NYPD and the City of New York as employers, pursuant to New
York City Human Rights Law, have unlawfully discriminated against plaintiffs and
members of the class they represent because of their race and national origin in the terms,
conditions, and privileges of employment and have penalized and disciplined and
otherwise taken adverse action against Plaintiffs in violation of New York City Local
Law 59 of 1986 as amended by Local Rule 39 of 1991, §8-207.
134. Plaintiffs have served a copy of this complaint upon the New York City
Commission of Human Rights and the New York City Corporation Counsel.

135. Plaintiffs and members of the class they represent have suffered and will continue

to suffer irreparable injury caused by defendant’s illegal conduct.
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136. Asa direct and proximate result of defendant’s unlawful acts, plaintiffs and
members of the class they represent have suffered and will continue to suffer loss
income, loss of upgrades and promotions, loss of time eared, forced overtime during
scheduled time off, loss of earned time off, and loss of other employment benefits and
plaintiffs have suffered and continue to suffer distress, humiliation, great expense,
embarrassment and damage to their reputations.

137. The actions of the defendants in depriving plaintiffs and members of the class
they represent of their constitutional and civil rights as hereinbefore stated, were willful
and malicious. As a result of defendant’s reckless and intentional acts, plaintiffs and
members of their class are entitled to compensatory and punitive damages in an amount

to be determined at trial.

6"# CAUSE OF ACTION AGAINST ALL DEFENDANTS
(individual claim of Edreweene Raymond, against all defendants
for violation of his first amendment rights to free expression)
138. Defendants have violated the rights of Plaintiff Edreweene Raymond under the
First Amendment to the United States Constitution and 42 U.S.C. §1983.
139. Asaresult of this violation, plaintiff's Edreween Raymond is entitled to a
declaration that his first amendment rights were violated, an injunction ordering the

defendants to refrain from further violation, compensatory damages, punitive damages,

and an award of attorney's fees.
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78 CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Individual claim of named plaintiff Edreweene Raymond
against all defendants for violation of their right to free speech
under Article 1, §8 of the New York State Constitution)
140. Defendants have violated the rights of plaintiff Edreweene Raymond under
Article 1, §8 of the New York State Constitution.
141. Asa result of this violation, plaintiff Edreweene Raymond is entitled to a
declaration that his New York Constitutional right to free speech was violated, an

injunction ordering the defendants to refrain from further violation, compensatory

damages, punitive damages, and an award of attorneys fees.

s*® CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Individual claim of plaintiff Adhyl Polanco against all
defendants for violation of his first amendment rights to free
expression)
142. Defendants have violated the rights of plaintiff Adhy] Polanco under the First
Amendment to the United States Constitution and 42 U.S.C. $1983.
143. Asa result of this violation, plaintiff Adhyl Polanco is entitled to a declaration
that his first amendment rights were violated, an injunction ordering the defendants to
refrain from further violation, compensatory damages, punitive damages, and an award of

attomey's fees.

9™? CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Individual claim of plaintiff Adhyl Polanco against all
defendants for violation of his right to free speech under Article
1, §8 of the New York State Constitution)

144. Defendants have violated the rights of plaintiff Adhyl Polanco under Article 1, §8

of the New York State Constitution.
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145. Asa result of this violation plaintiff Adhy] Polanco is entitled to a declaration that
his first New York Constitutional right to free speech was violated, an injunction ordering
the defendants to refrain from further violation, compensatory damages, punitive

damages, and an award of attorneys fees.

107" CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Individual claim Pedro Serrano against all defendants for
violation of his first amendment rights to free expression)
146. Defendants have violated the rights of Plaintiffs Pedro Serrano under the First
Amendment to the United States Constitution and 42 U.S.C. §1983.
147. Asa result of this violation plaintiff Pedro Serrano is entitled to a declaration that
his first amendment rights were violated, an injunction ordering the defendants to refrain

from further violation, compensatory damages, punitive damages, and an award of

attorneys fees.

11°" CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Individual claim of plaintiff Pedro Serrano against all
defendants for violation of his right to free speech under Article
1, §8 of the New York State Constitution)
148. Defendants have violated the rights of plaintiff Pedro Serrano under Article 1, §8
of the New York State Constitution.
149. As a result of this violation plaintiff Pedro Serrano is entitled to a declaration that
his New York Constitutional right to free speech was violated; an injunction ordering the

defendants to refrain from further violation compensatory damages; punitive damages;

and an award of attorneys fees.
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1274 CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Individual claims of plaintiff Derrick Waller against all
defendants for violation of his first amendment rights to free
expression)
150. Defendants have violated the rights of Plaintiff Derrick Waller under the First
Amendment to the United States Constitution and 42 U.S.C. §1983.
151. Asaresult of this violation, plaintiff Derrick Waller is entitled to a declaration
that his first amendment rights were violated; an injunction ordering the defendants to

refrain from further violation; compensatory damages; punitive damages; and an award

of attorney's fees.

137" CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Individual claim of plaintiff Derrick Waller against all
defendants for violation of his right to free speech under Article
1, §8 of the New York State Constitution)
152. Defendants have violated the rights of plaintiff Derrick Waller under Article 1, §8
of the New York State Constitution.
153. Asa result of this violation plaintiff Derrick Waller is entitled to a declaration that
their his New York Constitutional right to free speech was violated; an injunction
ordering the defendants to refrain from further violation; compensatory damages;
punitive damages; and an award of attorneys fees.
14™ CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Individual claim of plaintiff Sandy Gonzalez against all
defendants for violation of his first amendment rights to free
expression)

154. Defendants have violated the rights of plaintiff Sandy Gonzalez under the First

Amendment to the United States Constitution and 42 U.S.C. $1983.
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155. Asa result of this violation, plaintiff Sandy Gonzalez is entitled to a declaration
that his first amendment rights were violated; an injunction ordering the defendants to
refrain from further violation; compensatory damages; punitive damages; and an award
of attorney's fees.
15™" CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Individual claim of plaintiff Sandy Gonzalez, against all
defendants for violation of his right to free speech under Article
1, §8 of the New York State Constitution)
156. Defendants have violated the rights of plaintiff Sandy Gonzalez under Article 1,
§8 of the New York State Constitution.
157. Asa result of this violation, plaintiff Sandy Gonzalez is entitled to a declaration
that his New York Constitutional right to free speec were violated; an injunction ordering

the defendants to refrain from further violation; compensatory damages; punitive

damages; and an award of attorney's fees.

16"" CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Claims of named plaintiffs and class members
for a declaratory judgment)
158. The allegations in paragraphs 1 through 157 above are incorporated herein as if
fully set forth below.
159. Plaintiffs and all putative class members are entitled to a declaratory judgment
that the NYPD’s current performance evaluation system and or productivity standards for

police officers is an illegal quota system in violation of New York State’s Labor Law §

215-a.
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17" CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Claims of named plaintiffs and class members
for a permanent injunction)
160. The allegations in paragraphs 1 through 159 above are incorporated herein as if
fully set forth below.
161. Plaintiffs and all putative class members are entitled to a preliminary and
permanent injunction, enjoining defendants the City of New York and the NYPD from

using the number of arrests and or the number of summonses performed by a police

officer as a performance evaluation standard or a productivity standard.

VICARIOUS LIABILITY
162. Defendant the City of New York is vicariously liable for the acts, omissions and
conduct of its employees and agents, including but not limited to, all named individual
defendants herein, performed within the scope of their employment, duties and

responsibilities.

WHEREFORE, the named Plaintiffs and other members of the class they seek to
represent, pray that the Court will:
1). Issue an order certifying this action as a class action pursuant to Rule 23(a) and
(b)(2) of the Federal Rules of Civil Procedure in the manner described above herein, with
the named Plaintiffs as class representatives;
2). Issue a class-wide judgment declaring that the NYPD’s current performance
evaluation system and or productivity standards for police officers is an illegal quota

system in violation of New York State’s Labor Law § 215-a.
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3). Issue an order permanently enjoining the City of New York and the NYPD from
using the number of arrests and or the number of summonses performed by a police
officer as a performance evaluation standard or productivity standard.

4). Issue an order permanently enjoining the City of New York and the NYPD from
continuing its racially disparate treatment of Hispanic and African-American police
officers in performance evaluations and disciplinary actions.

5). Award compensatory damages in the first, second, third, fourth and fifth causes of
action, to the named plaintiffs individually, and their class members, against the
defendants for the unlawful negative employment actions taken against them including
loss of benefits, loss of earned time off, loss of upgrades and promotions, and loss of
overtime.

6). Issue an order for damages requiring the defendants to reimburse and make
whole, any and all plaintiffs and members of their class for any and all benefits they
would have received had it not been for defendant’s illegal actions including, back pay
with interest, benefits and seniority from the time of the Defendant’s illegal actions taken
against them.

7). With respect to the first, second, third, fourth and fifth causes of action, an award
of compensatory damages to the named plaintiff's individually and to their class
members for the pain, suffering, emotional distress, loss of dignity, humiliation and
damages to reputation and livelihood endured by named plaintiffs and members of the
class in amounts that are fair, just and reasonable, to be determined at trial;

8). Awards of compensatory damages to plaintiffs Raymond, Polanco, Serrano,

Waller and Gonzalez, on the 6", 7, 8, 9%, jo, 14", 12 13" 14" and 15" causes of
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action for violations of their rights to free speech pursuant to the First Amendment of the
United States and pursuant to the Article 1, §8 of the New York State Constitution.

9). An award of punitive damages to plaintiffs and members of the class against the
defendants, in an amount to be determined at trial.

10). Award plaintiffs all costs of this action and reasonable attorneys’ fees, as

provided for in 42 U.S.C. § 1988 and 42 U.S.C. § 1920.

11). An award to plaintiffs and their class members of such other and further relief as
the Court deems appropriate and equitable, including injunctive and declaratory relief as

may be required in the interest of justice.

New York, New York

August A, | , 2015

 

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